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LOU OCRCIIE ny
IN THE UNITED STATES DISTRICT COUR &. NEW MEXICO

JAN 3 2019
FOR THE DISTRICT OF NEW MEXICO

 

UNITED STATES OF AMERICA, )
)

Plaintiff, )

VS. ) Cr. No.

)

ANDREW BETTELYOUN, )
)

Defendant. )

PLEA AGREEMENT

Pursuant to Rule 11, Fed. R. Crim. P., the parties notify the Court of the following
agreement between the United States Attorney for the District of New Mexico, the Defendant,
Andrew Bettelyoun, and the Defendant’s counsel, Hakop J. Mkhitarian:

REPRESENTATION BY COUNSEL
1. The Defendant understands the Defendant’s right to be represented by an attorney
and is so represented. The Defendant has thoroughly reviewed all aspects of this case with the
Defendant’s attorney and is fully satisfied with that attorney’s legal representation.
RIGHTS OF THE DEFENDANT
2. The Defendant further understands the Defendant’s rights:
a. to be prosecuted by indictment;
b. to plead not guilty, or having already so pleaded, to persist in that plea;
C. to have a trial by jury; and
d. at a trial:

i. to confront and cross-examine adverse witnesses,
 

 

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ii. to be protected from compelled self-incrimination,
iii. to testify and present evidence on the Defendant’s own behalf, and
iv. to compel the attendance of witnesses for the defense.

WAIVER OF RIGHTS AND PLEA OF GUILTY
3. The Defendant agrees to waive these rights and to plead guilty to the information,
charging a violation of 18 U.S.C. §§ 1153 and 1201(c), that being Conspiracy to Commit
Kidnapping, an Indian Country Crime.
SENTENCING
4. The Defendant understands that the maximum penalty provided by law for this
offense is:

a. imprisonment for a period of life;

b. a fine not to exceed the greater of $250,000 or twice the pecuniary gain to the
Defendant or pecuniary loss to the victim;

c. a term of supervised release of not more than five years to follow any term of
imprisonment. (Ifthe Defendant serves a term of imprisonment, is then
released on supervised release, and violates the conditions of supervised
release, the Defendant’s supervised release could be revoked — even on the
last day of the term — and the Defendant could then be returned to another
period of incarceration and a new term of supervised release.);

d. a mandatory special penalty assessment of $100.00; and

e. restitution as may be ordered by the Court.

5. The parties recognize that the federal sentencing guidelines are advisory, and that

the Court is required to consider them in determining the sentence it imposes.
 

 

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ELEMENTS OF THE OFFENSE
6. If this matter proceeded to trial, the Defendant understands that the United States
would be required to prove, beyond a reasonable doubt, the following elements for violations of

the charges listed below:

18 U.S.C. §§ 1153 and 1201(c), that being Conspiracy to Commit Kidnapping, an Indian

Country Crime.

First: the defendant agreed with at least one other person to commit
Kidnapping, an Indian Country Crime;

Second: one of the conspiractors engaged in at least one overt act furthering
the conspiracy’s objective;

Third: the defendant knew the essential objective of the conspiracy;

Fourth: the defendant knowingly and voluntarily participated;

Fifth: there was interdependence among the members of the conspiracy;

that is, the members in some way or manner, intended to act

together for their shared mutual benefit within the scope of the

conspiracy charged.

DEFENDANT’S ADMISSION OF FACTS
7. By my signature on this plea agreement, I am acknowledging that I am pleading

guilty because I am, in fact, guilty of the offense to which I am pleading guilty. I recognize and
accept responsibility for my criminal conduct. Moreover, in pleading guilty, I acknowledge that
if I chose to go to trial instead of entering this plea, the United States could prove facts sufficient
to establish my guilt of the offense to which I am pleading guilty beyond a reasonable doubt,
including any facts alleged in the information that increase the statutory minimum or maximum

penalties. I specifically admit the following facts related to the charges against me, and declare

under penalty of perjury that all of these facts are true and correct:
 

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I, Andrew Bettelyoun, an enrolled member of the Jicarilla Apache Tribe and an
Indian under federal law, did on February 2, 2018, into February 3, 2018, agree
with my co-conspirator through words and actions to commit the offense of
kidnapping in a house within the Jicarilla Apache Reservation, Indian Country, Rio
Arriba County, district of New Mexico. During the course of our agreement and
knowing the essential objective of the agreement, I committed the following overt
acts in furtherance of the kidnapping: (i) I struck John Doe; (ii) I provided weapons
and binding material to my co-conspirator; and (iii) I assisted in the transportation
of John Doe from one room to another room. My co-conspirator and I relied upon
each other for assistance to assault, subdue, bind, confine, and transport John Doe
to secure the mutual goal of the conspiracy. John Doe died as a result of the_
injuries sustained during his kidnapping.

8. By signing this agreement, the Defendant admits that there is a factual basis for
each element of the crime to which the Defendant is pleading guilty. The Defendant agrees that
the Court may rely on any of these facts, as well as facts in the presentence report, to determine
the Defendant’s sentence, including, but not limited to, the advisory guideline offense level.

RECOMMENDATIONS

9. Pursuant to Rule 11(c)(1)(B), the United States and the Defendant recommend as
follows:

a. As of the date of this agreement, the Defendant has clearly demonstrated a
recognition and affirmative acceptance of personal responsibility for the

Defendant’s criminal conduct. Consequently, pursuant to USSG § 3E1.1(a),

so long as the Defendant continues to accept responsibility for the
 

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Defendant’s criminal conduct, the Defendant is entitled to a reduction of two
levels from the base offense level as calculated under the sentencing
guidelines, and if applicable, a reduction of an additional offense level
pursuant to USSG § 3E1.1(b). Further, the United States is free to withdraw
this recommendation if the Defendant engages in any conduct that is
inconsistent with acceptance of responsibility between the date of this
agreement and the sentencing hearing. Such conduct would include
committing additional crimes, failing to appear in Court as required, and/or
failing to obey any conditions of release that the Court may set.

The Defendant understands that the above recommendations are not binding
on the Court and that whether the Court accepts these recommendations is a
matter solely within the discretion of the Court after it has reviewed the
presentence report. Further, the Defendant understands that the Court may
choose to vary from the advisory guideline sentence. If the Court does not
accept any one or more of the above recommendations and reaches an
advisory guideline sentence different than expected by the Defendant, or if the
Court varies from the advisory guideline range, the Defendant will not seek to
withdraw the Defendant’s plea of guilty. In other words, regardless of any of
the parties’ recommendations, the Defendant’s final sentence is solely within

the discretion of the Court.

Apart from the recommendations set forth in this plea agreement, the United

States and the Defendant reserve their rights to assert any position or argument with respect to

the sentence to be imposed, including but not limited to the applicability of particular sentencing
 

 

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guidelines, adjustments under the guidelines, departures or variances from the guidelines, and the
application of factors in 18 U.S.C. § 3553(a).

11. Regardless of any other provision in this agreement, the United States reserves the
right to provide to the United States Pretrial Services and Probation Office and to the Court any
information the United States believes may be helpful to the Court, including but not limited to
information about the recommendations contained in this agreement and any relevant conduct
under USSG § 1B1.3.

DEFENDANT’S ADDITIONAL AGREEMENT

12. The Defendant understands the Defendant’s obligation to provide the United
States Pretrial Services and Probation Office with truthful, accurate, and complete information.
The Defendant represents that the Defendant has complied with and will continue to comply with
this obligation.

13. The Defendant agrees that, upon the Defendant’s signing of this plea agreement,
the facts that the Defendant has admitted under this plea agreement as set forth above, as well as
any facts to which the Defendant admits in open court at the Defendant’s plea hearing, shall be
admissible against the Defendant under Federal Rule of Evidence 801(d)(2)(A) in any
subsequent proceeding, including a criminal trial, and the Defendant expressly waives the
Defendant’s rights under Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence
410 with regard to the facts the Defendant admits in conjunction with this plea agreement.

14. + By signing this plea agreement, the defendant waives the right to withdraw the
defendant’s plea of guilty pursuant to Federal Rule of Criminal Procedure 11(d) unless (1) the
court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure 11(c)(5) or (2)

the defendant can show a fair and just reason as those terms are used in Rule 11(d)(2)(B) for
 

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requesting the withdrawal. Furthermore, defendant understands that if the court rejects the plea
agreement, whether or not defendant withdraws the guilty plea, the United States is relieved of
any obligation it had under the agreement and defendant shall be subject to prosecution for any
federal, state, or local crime(s) which this agreement otherwise anticipated would be dismissed
or not prosecuted.
RESTITUTION

15. The parties agree that, as part of the Defendant’s sentence, the Court will enter an

order of restitution pursuant to the Mandatory Victim’s Restitution Act, 18 U.S.C. § 3663A.
WAIVER OF APPEAL RIGHTS

16. The Defendant is aware that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 afford a
defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the
Defendant knowingly waives the right to appeal the Defendant’s conviction and any sentence,
including any fine, within the statutory maximum authorized by law, as well as any order of
restitution entered by the Court. The Defendant also waives the right to appeal any sentence
imposed below or within the Guideline range upon a revocation of supervised release in this
cause number. In addition, the Defendant agrees to waive any collateral attack to the
Defendant’s conviction(s) and any sentence, including any fine, pursuant to 28 U.S.C. §§ 2241
or 2255, or any other extraordinary writ, except on the issue of defense counsel’s ineffective
assistance.

GOVERNMENT?’S ADDITIONAL AGREEMENT
17. Provided that the Defendant fulfills the Defendant’s obligations as set out above,

the United States agrees that:
 

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a. The United States will not bring additional criminal charges against the
Defendant arising out of the facts forming the basis of the present information.

18. This agreement is limited to the United States Attorney’s Office for the District of
New Mexico and does not bind any other federal, state, or local agencies or prosecuting
authorities.

VOLUNTARY PLEA

19. The Defendant agrees and represents that this plea of guilty is freely and
voluntarily made and is not the result of force, threats, or promises (other than the promises set
forth in this agreement and any addenda). There have been no promises from anyone as to what
sentence the Court will impose. The Defendant also represents that the Defendant is pleading
guilty because the Defendant is in fact guilty.

VIOLATION OF PLEA AGREEMENT

20. The Defendant agrees that if the Defendant violates any provision of this
agreement, the United States may declare this agreement null and void, and the Defendant will
thereafter be subject to prosecution for any criminal violation, including but not limited to any
crime(s) or offense(s) contained in or related to the charges in this case, as well as perjury, false
statement, obstruction of justice, and any other crime committed by the Defendant during this
prosecution.

SPECIAL ASSESSMENT

21. At the time of sentencing, the Defendant will tender to the United States District
Court, District of New Mexico, 333 Lomas Blvd. NW, Suite 270, Albuquerque, New Mexico
87102, a money order or certified check payable to the order of the United States District

Court in the amount of $100 in payment of the special penalty assessment described above.
 

 

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ENTIRETY OF AGREEMENT
22. This document and any addenda are a complete statement of the agreement in this
case and may not be altered unless done so in writing and signed by all parties. This agreement
is effective upon signature by the Defendant and an Assistant United States Attorney.
AGREED TO AND SIGNED this 30" day of Dan var , 2019.

JOHN C. ANDERSON
United States Attorney

en

Josebh M. Spindle

Assistant United States Attorney
Post Office Box 607

Albuquerque, New Mexico 87102
(505) 346-7274

 

I have carefully discussed every part of this agreement with my client. Further, I have
fully advised my client of my client’s rights, of possible defenses, of the sentencing factors set
forth in 18 U.S.C. § 3553(a), of the relevant Sentencing Guidelines provisions, and of the
consequences of entering into this agreement. In addition, I have explained to my client the
elements to each offense to which she/he 1 is pleading guilty. To my knowledge, my client’s

 

 

akop J. Mkhitarian
torney for the Defendant
I have carefully discussed every part of this agreement with my attorney. I understand
the terms of this agreement, and I voluntarily agree to those terms. My attorney has advised me

of my rights, of possible defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of
the relevant Sentencing Guidelines provisions, and of the consequences of entering into this

agreement.

 
